EXHIBIT Y
                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                               ALEXANDRIA DIVISION


VIRGINIA COALITION FOR IMMIGRANT
RIGHTS; LEAGUE OF WOMEN VOTERS
OF VIRGINIA; LEAGUE OF WOMEN
VOTERS OF VIRGINIA EDUCATION FUND;
AFRICAN COMMUNITIES TOGETHER,

       Plaintiffs,

               v.                                       Case No. 1:24-cv-01778

SUSAN BEALS, in her official capacity as                Judge Patricia Tolliver Giles
Virginia Commissioner of Elections; JOHN
O’BANNON, in his official capacity as
Chairman of the State Board of Elections;
ROSALYN R. DANCE, in her official capacity
as Vice-Chairman of the State Board of
Elections; GEORGIA ALVIS-LONG, in her
official capacity as Secretary of the State Board
of Elections; DONALD W. MERRICKS and
MATTHEW WEINSTEIN, in their official
capacities as members of the State Board of
Elections; and JASON MIYARES, in his
official capacity as Virginia Attorney General,


               Defendants.


                  DECLARATION OF ROBERT BRENT FERGUSON
             IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION

Pursuant to 28 U.S.C. § 1746, I, Robert Brent Ferguson, declare as follows:

       1.      I am an attorney representing Plaintiffs Virginia Coalition for Immigrant Rights,

League Of Women Voters Of Virginia, League Of Women Voters Of Virginia Education Fund, and

African Communities Together. I have been employed by Campaign Legal Center since May 2023.

I currently serve as Senior Legal Counsel for Voting Rights. I am over the age of 18 and competent




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to testify as to the matters set forth in this affidavit based on my own personal knowledge. This

declaration is submitted in support of Plaintiffs’ Motion for Preliminary Injunction.

2.     I submit this declaration to provide the Court true and correct copies of certain documents

submitted in support of Plaintiffs’ Motion for a Preliminary Injunction and Memorandum of Law

in Support.

3.     Exhibit A is a true and correct copy of the declaration of expert Micheal P. McDonald.

4.     Exhibit B is a true and correct copy of the Memoranda of Understanding I reviewed,

entered into by the Virginia Department of Motor Vehicles and Virginia Department of Elections

in 2021 and 2024. It also contains the Memorandum of Understanding between the Virginia Board

of Elections and the U.S. Department of Homeland Security Citizenship and Immigration Services

in 2014.

5.     Exhibit C is a true and correct copy of Executive Order 35 issued by Virginia Governor

Glenn Youngkin on August 7, 2024.

6.     Exhibit D is a true and correct copy of the Virginia Department of Elections manual

regarding “Hopper Processing and Information: Step by Step Instructions” issued by the Virginia

Department of Elections. It is my understanding and belief that this document was written by Kim

Minor and revised by Divya Gautam and Vaidehi Maddireddy on October 5, 2023.

7.     Exhibit E is a true and correct copy of a document I reviewed entitled “Notice of Intent to

Cancel” and issued by the Alexandria City Office of Voter Registration on May 29, 2024.

8.     Exhibit F is a true and correct copy of a document I reviewed entitled “Affirmation of U.S.

Citizenship” form issued by the Arlington County Elections Office of Voter Registration.

9.     Exhibit G is a true and correct copy of a document I reviewed entitled “Voter Registration

Cancellation Notice” issued by the Arlington County Elections Office.




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10.     Exhibit H is a true and correct copy of the meeting minutes I reviewed for the Arlington

County Electoral Board meeting on September 10, 2024.

11.     Exhibit I is a true and correct copy of the document I reviewed entitled “Policy For

Referring Individuals Who Were Removed From The Voter Rolls” from the Fairfax County Office

of Elections dated September 16, 2024.

12.     Exhibit J is a true and correct copy of the meeting minutes I reviewed for the Fairfax

County Electoral Board meeting on August 15, 2024.

13.     Exhibit K is a true and correct recording I listened to of the Prince William County

Electoral Board meeting on September 30, 2024. The video was published on October 2, 2024.

The recording is available at https://perma.cc/5GQ6-RUQD. Plaintiffs’ counsel have retained a

persistent, offline copy of this video file.

14.     Exhibit L is a true and correct copy of the Electoral Board Meeting Agenda for the

Loudoun County Electoral Board Office of Elections and Voter Registration meeting on September

12, 2024.

15.     Exhibit M is a true and correct copy of the public records request submitted by Plaintiff

VACIR to the Virginia Departments of Motor Vehicles and Elections and the Virginia Offices of

the Attorney General and Governor on August 20, 2024.

16.     Exhibit N is a true and correct copy of the Virginia Department of Elections’

correspondence with Plaintiffs’ counsel, Ryan Snow, regarding VACIR’s August 20, 2024 public

records request.

17.     Exhibit O is a true and correct copy of the “Notice of Violation of National Voter

Registration Act and Demand for Remediation and Documents” letter sent by Plaintiffs to

Commissioner Beals and the Virginia Department of Elections on October 3, 2024.




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18.    Exhibit P is a true and correct copy of the September 19, 2024 letter sent by Commissioner

Beals to the Office of Governor Youngkin regarding the compliance with Executive Order 35.

19.    Exhibit Q is a true and correct copy of the “Annual List Maintenance Report” submitted

by the Virginia Department of Elections to the Virginia General Assembly on October 2, 2024.

20.    Exhibit R is a true and correct copy of correspondence I reviewed between Virginia

Department of Election official Matthew Norcutt’s September 13-16, 2024 and Fairfax County

Deputy General Registrar Cheryl Jones.

21.    Exhibit S is a true and correct copy of a September 5, 2024 article by Markus Schmidt and

published in the Virginia Mercury titled “Virginia’s top elections official warns of possible delays

in mail-in voting this year.” This article is available at https://perma.cc/9M3A-TFFM.

22.    Exhibit T is a true and correct copy of Attorney General Jason Miyares’ post on X at 1:57

pm ET on August 7, 2024. This post is permanently stored at https://perma.cc/6JGJ-KLJD.

23.    Exhibit U is a true and correct copy of an October 9, 2024 Washington Post article by

Gregory S. Schneider and Laura Vozzella titled “Youngkin stokes fear of vast noncitizen voting in

Virginia. Records don’t show it.” This post is available at https://www.washingtonpost.com/dc-

md-va/2024/10/09/youngkin-noncitizen-voters-virginia/.

24.     Exhibit V is a true and correct copy of the declaration of Monica Sarmiento on behalf of

Plaintiff VACIR.

25.    Exhibit W is a true and correct copy of the declaration of Joan Porte on behalf of Plaintiff

LWVVA.

26.    Exhibit X is a true and correct copy of the declaration of Gigi Traore on behalf of Plaintiff

ACT.

I declare under penalty of perjury that the foregoing is true and correct.




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Executed on October 14, 2024 in Washington, District of Columbia.



                                                         /s/ R. Brent Ferguson

                                                         Robert Brent Ferguson




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